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   (914) 949-2126
   By: Jeffrey A. Reich
   jreich@reichpc.com

   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK
   ----------------------------------------------------------------X
   In re:
                                                                       Chapter 11
           215 SULLIVAN, LLC,                                          Case No. 18-11255(MG)

                                                Debtor.
   ----------------------------------------------------------------X

                     NOTICE OF APPEARANCE AND REQUEST FOR
                    NOTICE PURSUANT TO BANKRUPTCY RULE 9010

           PLEASE TAKE NOTICE that the undersigned appear for New Wave Loans

   Residential, LLC, Creditor.

           REQUEST IS HEREBY MADE, pursuant to Bankruptcy Rule, that all notices

   to which New Wave Loans Residential, LLC is entitled (including, but not limited to, all

   papers filed and served in all adversary proceedings in such case, and all notices mailed

   to the statutory committees or their authorized agents, as such may be duly appointed or

   designated, and to creditors and equity security holders who file with the Court and

   request that all notices be mailed to them) shall be directed to the undersigned.

           REQUEST IS HEREBY FURTHER MADE that the foregoing request includes

   not only notices and papers referred to in Bankruptcy Rule 2002, but also includes,

   without limitation, orders and notices of any application, motion, petition, pleading,

   request, complaint or demand, whether formal or informal, whether written or oral, and



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   whether transmitted or conveyed by mail, hand delivery, telephone, telegraphs, telex or

   otherwise, that affect the above-captioned Debtor or the property of such Debtor’s estate.

   Dated: White Plains, New York
          May 4, 2018

                                                /s/Jeffrey A. Reich
                                                Jeffrey A. Reich, Esq.
                                                REICH REICH & REICH, P.C.
                                                Attorneys for Creditor
                                                New Wave Loans Residential, LLC
                                                235 Main Street, Suite 450
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                                                (914) 949-2126
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   To:    United States Bankruptcy Court
          Southern District of New York
          One Bowling Green
          New York, NY 10004

          Lawrence Morrison, Esq.
          87 Walker Street, Floor 2
          New York, NY 10013




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